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                 EXHIBIT A
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                                    KLINGE EXHIBIT A

               Case Name           Case Number
Aguilera, Kimberly             2:12cv09418
Barnes, Mayo                   2:12cv09025
Baylish, Linda                 2:13cv00490
Block, Jan Leigh               2:13cv00495
Bristol, Patricia              2:12cv08522
Brock, Elizabeth               2:12cv09856
Brucker, Terri                 2:13cv01026
Childers, Rita                 2:12cv09320
Cunningham, Stephanie          2:12cv09853
Dixon, Carolyn                 2:12cv09038
Douglas, Peggy                 2:13cv01753
Ellis, Margo                   2:12cv09097
Erskine, Monda                 2:12cv09686
Evans, Deborah                 2:13cv01521
Felter, Diane                  2:12cv08359
Finnegan, Crystal Lynn         2:13cv00059
Garcia, Caira Gay              2:12cv08956
Garcia, Maria                  2:12cv09244
George, Nora                   2:13cv02511
Gibbs, Lori                    2:13cv00888
Goulette, Laurine              2:13cv01776
Green, Sandra                  2:13cv00843
Greenwood, Michelle            2:12cv09252
Grizzle‐Hagans, Angela         2:13cv01954
Ham, Delpha                    2:13cv01462
Hamlin, Teresa                 2:13cv00522
Henry, Theresse                2:13cv00253
Herb, Cheryl                   2:12cv09683
Hoffmann, Joyce                2:13cv01284
Hohimer, Linda                 2:13cv00064
Hylton, Mary                   2:12cv09098
Ingram, Lisa Schneeberger      2:12cv09300
Jacobs, Patricia               2:12cv09034
Lago‐Lyons, Nancy              2:12cv09091
Lancaster, Christine           2:13cv01271
Leicester, Jennifer            2:13cv01040
Lombardo, April                2:13cv02640
Maestas, Dawn                  2:13cv01965
Maxwell, Jerene                2:13cv01703
McCarley, Sonya                2:12cv09152
McDaniel, Vickie               2:13cv01267
McKitterick, Beth              2:13cv00142
Meade, Deborah                 2:13cv01744
Meszaros, Mary                 2:12cv09246
Mullins, Rosalee               2:13cv01642
Murray‐Hockey, Barbara         2:12cv08548
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                                    KLINGE EXHIBIT A

               Case Name           Case Number
Nobles, Mary                   2:12cv08955
Oliveira, Lervon               2:12cv09062
Owens, Barbara                 2:13cv01206
Pace, Virginia                 2:12cv09716
Paretti, Bonnie Jean           2:13cv00821
Parrish, Meredith Ann          2:13cv02622
Patterson, Kaye                2:12cv08315
Putano, Shannon                2:13cv00275
Rihm, Nancy                    2:13cv00286
Romero, Linda                  2:13cv01294
Shinaver, Rosemarie            2:12cv09304
Smith, Patricia Moore          2:12cv09857
Stace, Stephanie               2:12cv09243
Statham, Mary                  2:13cv00661
Stone, Kimberly                2:12cv09095
Strandmark, Kelly              2:13cv00713
Sylvester, Tracie              2:12cv09047
Tedder, Judy                   2:13cv00097
Terry, Patricia                2:12cv08140
Thorne, Mary Nell              2:13cv01269
VanNostrand, Pamela            2:12cv09426
Whitmire, Debra                2:12cv09099
Wilson, Theresa                2:13cv00823
Wright, Joanne                 2:13cv02647
Wright, Joyce                  2:13cv00746
Young, Patricia                2:13cv02642
